                               United States Court of Appeals
                                      For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                     St. Louis, Missouri 63102
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Michael E. Gans
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 Clerk of Court
                                                                              www.ca8.uscourts.gov

                                                            May 17, 2023


Mr. Stephen R. Klein
BARR & KLEIN
Suite 300
1629 K Street, N.W.
Washington, DC 20006

         RE: 23-1457 United States v. State of Missouri, et al

Dear Counsel:

       The amicus curiae brief of the Missouri Firearms Coalition, American Firearms
Association, Iowa Gun Owners, Ohio Gun Owners, Minnesota Gun Rights, Georgia Gun
Owners, and Wyoming Gun Owners has been filed. If you have not already done so, please
complete and file an Appearance form. You can access the Appearance Form at
www.ca8.uscourts.gov/all-forms.

        Please note that Federal Rule of Appellate Procedure 29(g) provides that an amicus may
only present oral argument by leave of court. If you wish to present oral argument, you need to
submit a motion. Please note that if permission to present oral argument is granted, the court's
usual practice is that the time granted to the amicus will be deducted from the time allotted to the
party the amicus supports. You may wish to discuss this with the other attorneys before you
submit your motion.

                                                            Michael E. Gans
                                                            Clerk of Court

HAG
Enclosure(s)

cc:      Mr. Joshua Divine
         Mr. Jeff P. Johnson
         Mr. Daniel Reiss
         Mr. Jeffrey Eric Sandberg
         Mr. Daniel Schwei
         Mr. Alan Thomas Simpson
         Ms. Cassandra Snyder
         Ms. Abby Wright

            District Court/Agency Case Number(s): 2:22-cv-04022-BCW



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